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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
__________________________________
                                        :
Jonathan Escobar,                       :
                                        :
                   Plaintiff,           :
                                          Civil Action No.: 3:16-cv-00930-CSH
                                        :
       v.                               :
                                        :
Westlake Services, LLC d/b/a Westlake :
                                                                                      (
Financial Services; Equifax Information :
Services, LLC; and Experian Services    :
                                                                                      (
Corp.,                                  :
                                                                                      D
                                        :
                                                                                      R
                   Defendants.          :
                                                                                      H
__________________________________ :


                           STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the

issues alleged in the Complaint in this action and have negotiated in good faith

for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or

incompetent person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue

the litigation.

IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or

their respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the

above-captioned action is hereby dismissed in its entirety with prejudice and

without costs to any party. The Court will retain jurisdiction to enforce the terms

of the settlement agreement.
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Jonathan Escobar                  Equifax Information Services, LLC


/s/ Sergei Lemberg                /s/ Eric D. Daniels
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                                  Experian Services Corp.

                                  /s/ R. Harrison Golden
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                                  Attorney for Defendant




_____________________________
SO ORDERED




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                            CERTIFICATE OF SERVICE

      I hereby certify that on February 15, 2017, a true and correct copy of the
foregoing Stipulation of Dismissal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system. In addition, I certify that on
February 15, 2017, a true and correct copy of the foregoing Stipulation of
Dismissal was sent via first-class mail, postage pre-paid, to the party listed
below:

Westlake Services, LLC d/b/a Westlake Financial Services
4751 Wilshire Boulevard #100
Los Angeles, CA 90010

                                      /s/ Sergei Lemberg
                                      Sergei Lemberg, Esq.
